       Case 2:18-cv-12472-CJB-JCW Document 3 Filed 12/06/18 Page 1 of 2




                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


 ENTERGY NEW ORLEANS, LLC               *              CIVIL ACTION NO. 2:18-cv-12472
                                        *
                                        *              SECTION: J
 VERSUS                                 *
                                        *              JUDGE: BARBIER
                                        *
 THE HAWTHORN GROUP, L.C.               *              MAG. DIV.: 2
                                        *
                                        *              MAG. JUDGE: WILKINSON
 * * * * * * * * * * * * * * * * * * * **

                         CORPORATE DISCLOSURE STATEMENT

       The plaintiff, Entergy New Orleans, LLC (“Entergy”), files this corporate disclosure

statement. Entergy is a Texas limited liability company whose only members are:

       a.      Entergy Corporation, which is a Delaware corporation with its principal place of

business in Louisiana;

       b.      Entergy Utility Affiliates Holdings, LLC, which is a Texas limited liability

company, whose members are owned by Entergy Corporation;

       c.      Entergy Utility Assets Holdings, LLC, which is a Texas limited liability company,

whose members are owned by Entergy Corporation;

       d.      Entergy Utility Affiliates, LLC, which is a Texas limited liability company, whose

members are owned by Entergy Corporation and Entergy Utility Affiliates Holdings, LLC;

       e.      Entergy Utility Assets, LLC, which is a Texas limited liability company, whose

members are Entergy Corporation and Entergy Utility Assets Holdings, LLC;
       Case 2:18-cv-12472-CJB-JCW Document 3 Filed 12/06/18 Page 2 of 2




       f.     Entergy Utility Group, Inc., which is a Texas corporation with its principal place of

business in Louisiana; and

       g.     Entergy Utility Holding Company, LLC, which is a Texas limited liability company,

whose members are owned by Entergy Corporation; Entergy Utility Affiliates Holdings, LLC;

Entergy Utility Assets Holdings, LLC; Entergy Utility Assets, LLC; Entergy Utility Affiliates,

LLC; and Entergy Utility Group, Inc.

                                            Respectfully submitted,

                                            /s/ Thomas M. Flanagan
                                            Thomas M. Flanagan (#19569)
                                            Andy Dupre (#32437)
                                            Camille E. Gauthier (#34558)
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                                            Attorneys for Entergy New Orleans, LLC

                                CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing pleading will be served upon the defendant

through its counsel by email this 6th day of December, 2018.

                                             /s/ Thomas M. Flanagan




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